                                                    For Sal e
                     Proper ty Address: 4615 Main Street , Adamsville, AL 35005




• 8,000 ± SF light industrial building on
  0.73 ± AC lot
• Includes small office and apartment
• Close to city park, downtown and
  municipal buildings
• Built in 2000
• One 10-ton crane
• Parcel ID #15-00-34-3-030-001.000


                                        Sale Price: $325,000
   Durham Ellis - 205-914-6600 - durhamellis@lahcommercial.com
    LAH Commercial Real Estate, 2850 Cahaba Road, Suite 200, Birmingham, AL 35223 - Office: (205)870-8580
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                                                Exhibit B Page 1 of 1
